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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 DAVID FUCICH ET AL                             CASE NO. 6:20-CV-00978

 VERSUS                                         JUDGE ROBERT R.
                                                SUMMERHAYS

 GREAT DIVIDE INSURANCE CO ET                   MAGISTRATE JUDGE
 AL                                             WHITEHURST


                                   JUDGMENT

       This matter was referred to United States Magistrate Judge Carol B.

 Whitehurst for report and recommendation. After an independent review of the

 record,   and   noting   the   absence    of   any   objections filed, this Court

 concludes that the Magistrate Judge’s report and recommendation is correct

 and adopts the findings and conclusions therein as its own. Accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that, consistent with

 the report and recommendation, Plaintiffs, David and Ellen Fucich’s, Motion to

 Remand [Rec. Doc. 7] is DENIED.

       Signed at Lafayette, Louisiana, this 11th day of January, 2021.




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                                          ROBERT R. SUMMERHAYS
                                          UNITED STATES DISTRICT JUDGE
